IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

Tn re: Chapter 11
SureFunding, LLC, Case No. 20-10953 (LSS)
Debtor. Related to Docket Nos. 15, 34, 103

 

ORDER PURSUANT TO 11 U.S.C. § 305(a)(1)
SUSPENDING ALL PROCEEDINGS IN THE CHAPTER 11 CASE

Based on my findings of fact, and for the reasons set forth in my Bench Ruling
Delivered June 1, 2020 (D.I. 103),

IT IS HEREBY ORDERED, ADJUDGED, AND DECREED THAT:

1, Pursuant to 11 U.S.C. § 305(a)(1), ail proceedings in this chapter 11 case are
suspended pending determination of Debtor’s motion to vacate or motion for
reconsideration of the Court’s April 7, 2020 Decision (“Motion to Vacate”) currently
pending in Brett Hatton, et. al. v, Surelunding, LLC, Case No. A-20-812651-B, Dept. No. XIII
(District Court, Clark County, Nevada) (Denton, J.) and any motion practice on the Order
Granting Motion for Appointment of Receiver entered April 13, 2020 (“Receiver Order”). °

2, The automatic stay imposed by 11 U.S.C. § 362 is modified solely to: (1)
permit the Motion to Vacate to be pursued to a conclusion, whether by settlement,
judgment, or otherwise, and (2) permit any motion practice on the form of Receiver Order.
Except to the extent set forth in this paragraph, the automatic stay remains in effect in this
bankruptcy case.

3. The Debtor and the Noteholders shall file a joint status report on the docket

of this case within six (6) weeks of the entry of this Order.

 
4. Notwithstanding any provision in the Bankruptcy Rules to the contrary, this
Order shall be immediately effective and enforceable upon its entry.
5, The Court shall retain jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, or enforcement of this Order.

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Dated: June 3, 2020 i LLLEE. Ate thee afr
‘Laurie Selber Silverstein

United States Bankruptcy Judge

 
